
In re Energy Development Corporation; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. G, No. 511-546; to the Court of Appeal, Fifth Circuit, No. Ol-C-1355. '
Granted. Bond is reduced to $1 million.
TRAYLOR, J., recused.
KIMBALL, J., would deny the writ.
KNOLL, J., would deny the writ.
WEIMER, J., would deny the writ.
Retired Justice WALTER F. MARCUS, Jr., assigned as Associate Justice ad hoc, *862sitting for Justice CHET D. TRAYLOR, recused.
